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           In the United States Court of Federal Claims
                                 Sub-Master Docket No. 17-9001L

                                       (Filed: June 27, 2022)

 IN RE UPSTREAM ADDICKS AND
 BARKER (TEXAS) FLOOD-
 CONTROL RESERVOIRS



 THIS DOCUMENT APPLIES TO:

 ALL UPSTREAM CASES


                                              ORDER

       The court recognizes the parties’ joint proposed post-trial briefing schedule, received
June 24, 2022. See ECF No. 565. The court adopts the parties’ proposed schedule:

                        Event                                         Deadline

       Plaintiffs’ opening post-trial brief                          August 1, 2022

       Defendant’s responsive brief                                  September 9, 2022

       Plaintiffs’ reply brief                                       September 23, 2022

       Post-trial argument                                           September 29, 2022,
                                                                     at 2:30 p.m.

       It is so ORDERED.


                                                     s/ Charles F. Lettow
                                                     Charles F. Lettow
                                                     Senior Judge
